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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION

CASE NO.: 0:18-cv-22923-DPG
JELEN CARPIO
as personal representative of the estate
of DIOGENES CARPIO, JR., 8.
Plaintiff,

vs.

NCL (BAHAMAS) LTD.,
D-I DAVIT INTERNATIONAL, INC.,,
HATECKE SERVICE USA, LLC

Defendants.
/

DECLARATION OF JOACHIM WIESE
I, Joachim Wiese, pursuant to 28 U.S.C. § 1746, verify:

1, I am employed as general manager by d-i davit international-hische GmbH (“d-i
GmbH”), based in Sulingen, Germany. Since the 24" of October 2013, I have also served as the
sole Director and Officer of D-I Davit International, Inc. (“D-I, Inc.”). In my capacity as
Director and Officer of D-I, Inc., I am fully familiar with the facts set forth herein, based on my
personal knowledge and review and research of company documents. I submit this Declaration
in support of D-I, Inc.’s Motion to Dismiss the Complaint (‘Complaint”) filed in the captioned
matter.

2. D-I, Inc. is a wholly owned subsidiary of d-i GmbH and was incorporated on the
224 of October 2013 pursuant to the laws of the State of Delaware. D-I, Inc. maintains its only
place of business in Ft. Lauderdale, Florida.

3. At present, D-[, Inc. is an inactive corporation and has no employees.

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4, D-I, Inc.’s inactive status is reflected in its tax returns, which demonstrate no
income due to D-I, Inc.’s lack of active business. True and correct copies of D-I, Inc.’s tax
returns for the fiscal years 2015, 2016 and 2017 are collected as Exhibit A accompanying this
Declaration.

5. D-I, Inc. did not manufacture, design, market, sell, or distribute any davit or other
equipment installed or otherwise located on the Norwegian Breakaway.

6. D-I, Inc. did not prepare or provide any manuals, policies or procedures in any
way related to any davit or other equipment installed or otherwise located on the Norwegian
Breakaway.

7. D-I, Inc. did not install, service, maintain, inspect, or perform any other services
in any way related to any davit or other equipment installed or otherwise located on the
Norwegian Breakaway.

8. The davits installed on the vessel were manufactured and sold by d-i GmbH in
Germany.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on the 08 day of August, 2018 in Sulingen, Germany.

oY *
Joachirn Wiese ‘

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